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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION



    LARRY FRISBY, on behalf of himself
    and all others similarly situated,

                         Plaintiffs,                  Civil Action No. 19 C 0798

          v.-                                          Judge Kennelly

    SKY CHEFS, INC. and LSG GROUP,                     Magistrate Judge Cole

                         Defendants.

                                PLAINTIFFS’ RESPONSE TO
                       DEFENDANTS SKY CHEFS, INC. AND LSG GROUP’S
                        MOTION TO DISMISS PLAINTIFF’S COMPLAINT

Introduction

        Plaintiffs’ Complaint alleges two types of claims:     wage and hour violations of the FLSA,

Illinois Minimum Wage Law and Chicago Ordinance, for failure to properly compensate for time

worked; and Illinois Biometrics Privacy Act (“BIPA”) privacy violations. Plaintiff Frisby does not

claim, as Defendants say, “that he was not adequately compensated for his data”, Defts’ Mem., p. 8.

        Defendants supply food to airplane passengers. Complaint, ¶¶ 1, 4. In their motion, they

claim they are as exempt as an airline from liability under BIPA because of the supposed subject matter

jurisdiction of this matter under the Railway Labor Act1. They make that claim based on the Seventh

Circuit’s holding in Miller v. Southwest Airlines Co., 926 F.3d 898, 903 (7th Cir. 2019). But Miller merely

confirmed that, “As a matter of federal law, unions in the air transportation business are the workers'

exclusive bargaining agents. 45 U.S.C. §152.”       Defendants here are not in the air transportation



1Nowhere have Defendants claimed preemption under the Labor Management Relations Act in their
motion.
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business. They supply food to airlines. They are no more in the air transportation business than

myriad other businesses whose members belong to the same UNITE HERE union that Defendants

reference in their response, Defts’ Mem., Ex. 1, and “who work in the hotel, gaming, food

service, airport, textile, manufacturing, distribution, (and) laundry… industries.” https://unitehere.org

       Defendants cannot meet their high burden of establishing, as an affirmative defense, that they

are exempt from the FLSA pursuant to the RLA. Sky Chefs is not an employer subject to the federal

Railway Labor Act (“RLA”), as Defendants claim.         Because they are not subject to the RLA, the

asserted defense that the RLA “preempts” Plaintiffs’ BIPA claim fails.

       Defendants also claim the Complaint does not raise any wage and hour violations. That claim

is unfounded and wrong. The Complaint specifically alleges that Plaintiff Frisby worked at least forty

hours per week for Defendants, Complaint, ¶ 29; that no time clocked in by Plaintiff or other

similarly situated employees prior to the start time of the scheduled shift was compensated by

Defendants, though the employees performed compensable work during that time, Complaint, ¶ 47;

that the rounding of their clocked time “was typically to the detriment of the employee, and to the

benefit of Defendants”, id., ¶ 48; and that they were required to work through their designated meal

break virtually every day without compensation, id., ¶ 49. While Defendants may choose to dispute

those factual allegations in an Answer and at trial, the allegations themselves are sufficient to raise a

legally cognizable claim under the three wage statutes. Defendants’ motion must therefore be denied.



I.        DEFENDANTS CANNOT ESTABLISH THAT SUBJECT MATTER JURISDICTION
                           EXISTS UNDER THE RLA.

       Defendants agree that the question of Railway Labor Act jurisdiction is a matter of subject

matter jurisdiction. Defts’ Mem., p. 4. There are no facts of record here whatsoever to support any

claim by Defendants that such jurisdiction can be or has been met by Defendants.

       The National Mediation Board (“NMB") is the federal agency responsible for administering
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the RLA. The NMB has developed a “function-and-control test” to determine whether an entity is

subject to the RLA, and lower courts have treated NMB analyses of the test as persuasive (though

courts are not bound by the determinations made by the NMB under this test, Roca v. Alphatech

Aviation Servs., 960 F. Supp. 2d 1368, 1372 (S.D. Fla. 2013).           Under the NMB's two-pronged

conjunctive test, an employee is covered by the air-carrier exemption to the FLSA if: (1) the nature of

the work is that traditionally performed by employees of air carriers (the "function" test); and (2) the

employer is directly or indirectly owned or controlled by or under common control with an air carrier

(the "control" test). Verrett v. The Sabre Grp., 70 F. Supp. 2d 1277, 1281 (N.D. Okla. 1999). Both

prongs must be satisfied in order for the RLA exemption to apply.

       "[W]hen considering whether the nature of the work is traditionally performed by employees

of rail or air carriers[,]" the NMB "looks to the [RLA's] purposes." In Re AMR Servs. Corp., 18 NMB

348, 350 (May 2, 1991). Because one of the RLA's stated purposes is to "avoid any interruption to

commerce or to the operation of any carrier engaged therein," 45 U.S.C. § 151a, the analysis under the

first prong also examines "whether the carrier affiliate's services are sufficiently connected to the

carrier's commercial transportation operations that a work stoppage at the carrier affiliate would

impede those operations." Cunningham v. Elec. Data Sys. Corp., 2010 U.S. Dist. LEXIS 32112 (S.D.N.Y.

Mar. 30, 2010) at *5. In other words, the function test considers whether the work at issue is

traditionally performed by employees of air carriers and also whether the work is essential to a

carrier's air transportation services. See Verrett v. Sabre Grp., Inc., 70 F. Supp. 2d 1277, 1283 (N.D.

Okla. 1999); see also In re Norwegian Cabin Crew Assoc, 43 NMB 97, 105 (April 19, 2016) (holding that

the function test is satisfied where "[t]he duties of flight attendants are essential to air transportation

services and have been long held to be services traditionally performed by carrier employees”);

Venegas v. Glob. Aircraft Serv., No. 2:14-cv-249-NT, 2016 U.S. Dist. LEXIS 130164, at *21 (D. Me. Sep.

23, 2016).

       Here, Defendants provide food to airline passengers. Complaint, ¶¶ 1, 4. Such provision
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cannot be considered “essential” to the business of an air carrier. Indeed, much as we might detest

airplane food, we can fly on an airplane without it, and have done so many times. Likewise, there are

no facts of record establishing that the provision of food to an airplane’s passengers (or even crew) is

work that is either “traditionally performed by employees of air carriers” or “essential”.

         In Roca v. Alphatech Aviation Servs., 960 F. Supp. 2d 1368, 1373 (S.D. Fla. 2013), the district

court applied the NMB’s “function and control” test and found that the plaintiff, whose work

involved heavy-duty cleaning of airplanes operated by commercial and freight airlines, was not subject

to the RLA. The employer had moved for summary judgment on the question of whether Plaintiff is

an "employee of a carrier by air" for purposes of the FLSA's air carrier exemption. The Court noted

that “The application of an exemption under the FLSA is an affirmative defense on which the employer

has the burden of proof. Corning Glass Works v. Brennan, 417 U.S. 188, 196-97, 94 S. Ct. 2223, 41 L. Ed. 2d

1 (1974)”, and concluded that, under the NMB’s two-part test, Defendants had not shown that the work

performed by Plaintiffs “is of the sort traditionally performed by air-carrier employees.” Roca, at 1372..

In fact, the Court held: “Defendants have not presented any evidence tending to show that the work

performed by Alphatech is ever performed by air-carrier employees, let alone that it is "traditionally"

performed by those workers.” Id., at 1373. The Court noted the RLA's definition of a "carrier" includes

actual carriers as well as "any company . . . which operates any equipment or facilities or performs any

service (other than trucking service) in connection with the transportation, receipt, delivery, elevation,

transfer in transit, refrigeration or icing, storage, and handling of property transported.”, 45 U.S.C. § 151,

and noted that the Act’s definitional focus tends to be on companies performing the auxiliary functions of

“loading, unloading, and shipping to and from carriers' depots and terminals for the ultimate

transportation of whatever is being carried in interstate commerce.” Roca, 1372-73. The Court observed

that “Alphatech's owner, by contrast, acknowledges that the work performed by Alphatech is traditionally

contracted out by the air carriers.” (Emphasis supplied.) Id

        Dobbs Houses, a Tennessee corporation engaged in the restaurant and airline catering
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business at numerous airports throughout the country, made the same argument Defendants make

here, that they are governed by the Railway Labor Act, in Dobbs Houses, Inc. v. NLRB, 443 F.2d 1066,

1067 (6th Cir. 1971). The basic issue in the case was whether or not Dobbs Houses was subject to the

jurisdiction of the Railway Labor Act. The Sixth Circuit held it was not, and noted:

       “(T)he Employer did not concede that the Board had jurisdiction and, instead, moved that the

       petition be dismissed on the ground that the Employer and the catering employees sought by

       the petition are subject to the jurisdiction of the Railway Labor Act….           The Petitioner

       disagrees….

       “The Employer's Memphis catering operations involve the preparation of food in its airport

       kitchens and the transportation of food and beverages from its facilities at the airport to

       planes and the return of soiled equipment to its kitchens which are located at the airport….

       The Employer's relations with the airlines are established by oral contracts and detailed

       specifications or manuals, which set forth in detail instructions regarding the catering

       operation as it relates to the particular airline. These instructions include the make up of

       menus, the manner of food and beverage preparations, the size of meals and the manner and

       means by which the food should be loaded on the planes…. While we recognize that Dobbs

       Houses is engaged in a business which requires it to please some very meticulous and

       demanding customers, that fact alone does not establish their "control directly or indirectly"

       of it or its employees for purposes of the Railway Labor Act.

Dobbs Houses, Inc. v. NLRB, 443 F.2d 1066, 1072 (6th Cir. 1971). The Court thus concluded there was

no RLA jurisdiction over the matter.

       There are no facts of record here that the Sky Chefs Defendants’ relationship with its airline

customers are any different. There is no evidence that Plaintiffs’ work is that traditionally performed

by employees of air carriers. Defendants have not produced a scrap of evidence suggesting - nor

have Defendants even alleged - that any airline is the true employer of Plaintiff and the class he seeks
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to represent. Instead, the opposite is true: Defendants assert in their Memorandum that there exists a

collective bargaining agreement between a union which Plaintiff is allegedly required to join, and

Defendant Sky Chefs, Inc.; and that Sky Chefs - not some airline entity - has “sole jurisdiction of the

management and operation of its business and the direction of its working force.” See, Defts.’ Mem.,

p. 3. Thus, unlike the argument in Dobbs Houses, there is not even a suggestion that any airline controls

or owns Defendants here.

       Defendants appear to be either conflating or leap-frogging over the failure of RLA

applicability, repeating that the Miller decision requires arbitration, with this quote from Miller:

         “It is not possible even in principle to litigate a dispute about how an air carrier acquires and

uses fingerprint information for its whole workforce without asking whether the union has consented

on the employees’ collective behalf.” Id. at 904. Thus, it determined, “this dispute must go to an

adjustment board.” Id.” Defts’ Mem., p. 7. But Defendants here are not an “air carrier”. There is no

“adjustment board” for Plaintiffs’ claims here. “Adjustment Boards” are for RLA claims. There is no

jurisdiction of the RLA over Plaintiffs’ claims because Defendants are not subject to the RLA. As an

aside, and as set forth below, the CBA Defendants have appended to their motion makes no mention

of whether a union consented to using biometric information, nor how Defendants have acquired and

used that information, such that the directive in Miller is wholly inapplicable here.                  Because

Defendants are not subject to the RLA, there is no subject matter jurisdiction of an RLA dispute, and

no adjustment board to address a claim.

The Parties Cannot Create RLA Jurisdiction.

       Defendants may counter that the Collective Bargaining Agreement they have attached to their

motion to dismiss reflects Defendants’ and the UNITE HERE union’s agreement to proceed under

the RLA. But of course, the parties cannot create federal jurisdiction by consent. Insurance Corp of

Ireland, Ltd. v. Compaignie des Bauxites de Guinee, 456 U.S. 694, 702, 102 S. Ct. 2099, 72 L. Ed. 2d 492

(1982) ("[N]o action of the parties can confer subject matter jurisdiction upon a federal court. Thus,
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the consent of the parties is irrelevant.”); Shapo v. Engle, No. 98 C 7909, 2008 U.S. Dist. LEXIS 21075,

at *9 (N.D. Ill. Mar. 14, 2008) “a district court's lack of subject matter jurisdiction cannot be cured by

agreement of the parties; see also, Metropolitan Life Insurance Co. v. Estate of Cammon, 929 F.2d 1220,

1222- 1223 (7th Cir. 1991); Renneisen v. Am. Airlines, Inc., 990 F.2d 918, 922 (7th Cir. 1993). Instead,

there has to actually be RLA jurisdiction, and there is none here, because Defendants are not a

“carrier” under the RLA.

Defendants Cannot Meet Their Burden Of Proving An FLSA Exemption.

        The FLSA provides, at 29 U.S.C. 213:

        (b) Maximum hour requirements. The provisions of section 7 [29 USCS § 207] shall not apply

with respect to—…

        (3) any employee of a carrier by air subject to the provisions of title II of the Railway Labor

Act [45 USCS §§ 181–188]; …

        29 USCS § 213.

        The application of an exemption under the FLSA is an affirmative defense on which the

employer has the burden of proof. Corning Glass Works v. Brennan, 417 U.S. 188, 196-97, 94 S. Ct.

2223, 41 L. Ed. 2d 1 (1974).     The exemptions are narrowly construed, and the burden is on the

employer to demonstrate that the employee is covered by one of the exemptions. Raimondi v. Central

Dupage Hospital, No. 15 C 7780, 2017 U.S. Dist. LEXIS 47499, at *8 (N.D. Ill. Mar. 30, 2017). The

Railway Labor Act applies to railways and to airlines. It does so because a railway or airline “carrier”

is a term defined under the RLA.        Southwest Airlines, and United Airlines (also a party in the

consolidated Miller decision) are airlines, subject to the RLA. Defendants are not.

        Again, there exists no evidence of record that Defendants are an RLA “carrier”. Without that

status, it cannot follow that the RLA exemption to the FLSA Defendants seek has any application

here.

BIPA Is a Subject Independent of the CBA That Defendants Argue Controls This Matter.
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       As the Miller decision recognized, “When a subject independent of collective bargaining arises,

and concerns different treatment of different workers, litigation may proceed outside the scope of the

Railway Labor Act.” Miller, 926 F.3d at 904. Even if the RLA somehow did apply here (which we do

not by any means concede), Defendants’ motion does not address settled law in this Circuit that “"a

state-law cause of action is not pre-empted … if it involves rights and obligations that exist

independent of the collective bargaining agreement…” Westbrook v. Sky Chefs, 35 F.3d 316, 318 (7th

Cir. 1994). In Westbrook, Plaintiff injured herself at work - while working for Defendant Sky Chefs 2 -

and was subsequently terminated from her employment. The District Court held she was required to

arbitrate her claim for retaliatory discharge. The Seventh Circuit reversed, finding she had a legal

claim independent of any CBA between her union and Sky Chefs - the state statutory right provided

under the Illinois Workers’ Compensation law against retaliatory discharge.         The Court, citing

Supreme Court precedent, held:

       “(I)n this case, the CBA is not the 'only source' of plaintiff's right not to be discharged

       wrongfully….. (I)n fact the 'only source' of the right respondent asserts in this action is state

       law. In both this case and Hawaiian Airlines, the plaintiff alleged violation of state law

       independent of the CBA, and the defendant's obligation under the RLA to arbitrate disputes

       arising out of the application or interpretation of the CBA did not relieve them of this duty.

       The Court states the preemption standard thus emerges in this way:         a state-law cause of

       action is not pre-empted by the RLA if it involves rights and obligations that exist

       independent of the collective bargaining agreement.”

       Westbrook v. Sky Chefs, 35 F.3d 316, 318 (7th Cir. 1994)(internal quotations and citations

omitted).

2 In Westbrook, application of the RLA was not at issue. The 1994 Westbrook decision references a
1988 NMB advisory opinion that Sky Chefs was subject to the RLA; however, at that time, Sky Chefs
was a wholly-owned subsidiary of an airline. See, https://www.lsgskychefs.com/about-us/#null
(“American in origin, Sky Chefs was founded by American Airlines in Texas in 1942, making it the
oldest independent caterer in the world.” It is no longer owned by an airline, according to Ex. 1 to
Defts’ Mem, p. 3, and in any event, there is no record evidence otherwise.
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       Likewise, here, any CBA Defendants proffer is not the ‘only source” of Plaintiff ’s right to

privacy as articulated by BIPA. It is not a source at all. Indeed, we find no provision within the pages

of the CBA that Defendants have attached to their motion that remotely addresses in any manner,

shape or form Defendants’ right to use Plaintiffs’ private biometric information, or their waiver of

any such right. Plainly, the word “biometrics” appears nowhere in the document. But neither does

“privacy”, “fingerprint”, “retinal scan”, or “time keeping”, or even “time clock”. The entire section

of the CBA relating to “Fringe Benefits and General Conditions of Employment”, Defts’ Mem., Ex.

1, p. 19 makes no mention of any concept relevant to or covered by any of those concepts or by the

BIPA. Nothing else in the CBA does, either. Plaintiffs’ rights to privacy as enshrined in BIPA exist

independent of the CBA that Defendants have attached to their memorandum. This is not a “minor

dispute” in which a "plaintiff's claims… depend not only on a right found in the CBAs, but also…

implicate practices, procedures, implied authority, or codes of conduct that are part of the working

relationship.”, see Monroe v. Mo. Pac. R.R., 115 F.3d 514, 518 (7th Cir. 1997) quoting Fry v. Airline Pilots

Ass'n, Int'l, 88 F.3d 831, 836 (10th Cir. 1996). There simply are no rights to the privacy created by

BIPA or arising under any other basis, under any provision of the CBA proffered by Defendants. See,

Hawaiian Airlines v. Norris, 512 U.S. 246, 254, 114 S. Ct. 2239, 2245 (1994) citing NRAB Third Div.

Award No. 19790 (1973) ("This Board lacks jurisdiction to enforce rights created by State or Federal

Statutes and is limited to questions arising out of interpretations and application of Railway Labor

Agreements”).     To claim that the CBA Defendants present without elucidation should govern

Plaintiffs’ BIPA claims is entirely inconsistent with the facts and holding in Miller and the established

law of Westbrook, Norris, and its progeny.

       Moreover, Plaintiffs fully intend to explore in discovery the use, storage or retention of

Plaintiffs’ biometrics information by third party vendors, including Kronos (see, Complaint, ¶ 20).

Defendants do not explain how the liability of a third party for its and their BIPA violations could be

addressed through a System Board of Adjustment and Arbitration proceeding, to which the third
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party (parties) are not parties.

        RLA preemption is supposed to work like this:

       “It is the "general rule that the RLA will not bar a plaintiff from bringing a claim under an

       independent federal statute in court (because such claims are generally independent of the

       CBA and will be adjudicated under non-CBA standards)." Brown( v. Ill. Cent. R.R.), 254 F.3d at

       667-68. But if the plaintiff's lawsuit can be dispositively resolved by interpreting the CBA, then

       the case must be dismissed in favor of the RLA's exclusive and mandatory dispute resolution

       procedures. Hawaiian Airlines, 512 U.S. at 261-62; Brown, 254 F.3d at 668. On the other hand,

       there is no preclusion if the CBA is relevant to the dispute but not dispositive, Brown, 254 F.3d

       at 664, or if a plaintiff's claim merely tangentially touches a CBA. Monroe, 115 F.3d at 519. In

       short, the plaintiff's claim is not precluded unless the parties disagree about the interpretation

       of the CBA and that dispute is dispositive of the plaintiff's claim. Brown, 254 F.3d at 664 (citing

       Loewen Group International, Inc. v. Haberichter, 65 F.3d 1417, 1423 (7th Cir. 1995)).”

Tice v. Am. Airlines, Inc., Case No. 95 C 6890, 2001 U.S. Dist. LEXIS 13941, at *5-6 (N.D. Ill. Aug. 29,

2001)(emphasis supplied). As discussed, there is no RLA application here in the first place. Moreover,

Defendants haven’t even suggested what part of the CBA would “govern” or need to be

“interpreted”, to support, rebut or address any claim that Defendants’ collecting, capturing,

purchasing, receiving through trade, or otherwise obtaining Plaintiffs’ biometric data is legal, accepted

or agreed upon.      The dispute must be one that involves interpretation of the CBA to not be

precluded, Tice at *9. It is obvious that Plaintiffs’ claims for privacy protection here arise solely from

an independent state law cause of action based upon the facts of this case; and the CBA Defendants

have produced has no application to the privacy claims at issue, such that there could be no preclusion

even if the RLA did somehow apply here.

Plaintiff ’s Claim for Negligence Stands Apart From his BIPA Claims.

        Invasion of privacy lawsuits are nothing new; at common law, violations of the right to privacy
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have been recognized as a valid basis for suit. See Cox Broad. Corp. v. Cohn, 420 U.S. 469, 488, 95 S. Ct.

1029, 43 L. Ed. 2d 328 (1975); Eichenberger v. ESPN, Inc., 876 F.3d 979, 983 (9th Cir. 2017); Dixon v.

Wash. & Jane Smith Cmty., No. 17 C 8033, 2018 U.S. Dist. LEXIS 90344, at *28 (N.D. Ill. May 31,

2018). Obtaining or disclosing a person's biometric identifiers or information without her consent or

knowledge necessarily violates that person's right to privacy in her biometric information. Id.

       Defendants’ only criticism of Plaintiffs’ claim for negligence is that it “necessarily requires

interpretation of the CBA.”     Defts’ Mem., p. 10. There is again no suggestion of what provision(s)

of the CBA would need to be interpreted, nor why it would be necessary- elements that are

Defendants’ burden of proof in attempting to preclude litigation over the privacy issues at hand. For

all of the reasons set forth above, this argument fails, too.



 II.       PLAINTIFF’S COMPLAINT SETS FORTH ALL ELEMENTS OF HIS WAGE CLAIMS

       Defendants have also argued that Plaintiffs’ wage claims must be dismissed. It would appear

that Defendants’ argument regarding Plaintiffs’ wage claims has been brought simply because

Defendants felt compelled to bring a motion to dismiss Plaintiffs’ BIPA claims in the wake of the

Miller decision, and then decided to throw on an extra argument. Defendants’ argument is not well

founded.

       Defendants begin by arguing that “courts of this district have generally agreed that a plaintiff

must plead details beyond having worked more than 40 hours without overtime to state a claim under

the FLSA.” Defts’ Mem., p. 11. We do not disagree; but have plead vastly more detail than that, as

even a cursory read of the Complaint reveals. As noted, Plaintiff has pleaded that Plaintiff typically

clocked in five to six minute early, because his employers required it, Complaint, ¶¶ 45-46; that that

time was not compensated, id., ¶ 47; that instead that time was rounded down to the detriment of

Plaintiff, id., ¶ 48; that he and others were required to work through their meal break virtually every

day without compensation, id., ¶ 49; and that he worked in excess of 100 hours of unpaid overtime,
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id., ¶ 53. There is no legitimate argument that those allegations are insufficient to state a cause of

action for violations of the FLSA, IMWL or the City Ordinance.

       Defendants claim our “rounding” allegations should be dismissed “because they fail to raise a

reasonable expectation that discovery will reveal any overtime violations….”. Defts’ Mem., p. 10

(emphasis supplied). But they support that unsupported factual claim with nothing. Each of the

cases cited by Defendants following that claim pertain to Complaints that failed to plead more than

that overtime was worked without pay. That is not the case with this Complaint.

       Defendants refer to the Code of Federal Regulations regarding rounding, 29 C.F.R. 785.48(b),

to defend their time rounding practices. They ignore, however, that same regulations’ prohibition,

that rounding is impermissible if it is not neutral, or, as we have pleaded, “such rounding was typically

to the detriment of the employee, and to the benefit of Defendants”, Complaint, ¶ 48. In other

words, they appear to assert legal argument as facts directly opposed to well-pleaded facts in our

Complaint, that Plaintiff typically clocked in five to six minute early, because his employers required

it3, Complaint, ¶¶ 45-46, and that time was rounded away, ¶ 48, to attempt defeat the Complaint in a

motion to dismiss. That is impermissible, since the Court takes as true the Complaint's well pleaded

facts, drawing reasonable inferences in the plaintiff's favor. Northern Trust Co. v. Peters, 69 F.3d 123,

129 (7th Cir. 1995).      Plaintiffs have pleaded the “systematic underpayment of wages” that

Defendants’ cited legal precedent4 requires.

       Plaintiff Frisby has also alleged that he worked through his meal periods, but was not

3 Since Plaintiﬀ’s employer required his attendance pre-shift, Complaint, ¶ 46, and it was not voluntary,
then regardless of whether he actually worked during that time, he was “engaged to wait”, and such
time is therefore compensable under the FLSA. See, Roland v. Unity Ltd. Partnership, No. 07-C-1103,
2010 U.S. Dist. LEXIS 29623, at *7 (E.D. Wis. Mar. 29, 2010((“An employee is engaged to wait when
idle waiting is a part of the job he is asked to work.”); see also, 29 CFR 785.15 (“… the employee is
unable to use the time eﬀectively for his own purposes. It belongs to and is controlled by the
employer. In all of these cases waiting is an integral part of the job. The employee is engaged to wait”).
4 Mendez v. H.J. Heinz Co., L.P., No. CV 12-5652-GHK (DTBx), 2012 WL 12888526, at *3 (C.D. Cal.
Nov. 13, 2012)(“[T]o survive a motion to dismiss, Plaintiﬀ must not only allege what the rounding policy
is, but also additional facts that would plausibly suggest that the policy results in a systematic
underpayment of wages.”). Defts’ Mem., p. 12.
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compensated for that time. Complaint, ¶ 49. Defendants acknowledge as much, but suggest that it

should take more than a paragraph of pleading to make such an allegations stick (“Plaintiff also

alleges, in a single paragraph, that he and other unidentified employees worked through their

designated meal break virtually every day, and that their time was not compensated. Id. ¶ 49.”) After

reciting that the wage laws require such time to be compensated (“The FLSA, IMWL, and CMWO,

however, do not demand lunch breaks, but rather prescribe only that an employee must be paid for every hour

worked.“, Defts’ Mem., p. 14, emphasis supplied), Defendants conclude that such conduct is not

unlawful because Plaintiff must plead that “any allegedly missed meal break was otherwise unpaid.”

Id. It is an incomprehensible argument. Plaintiff is not suing because he missed lunch; he is suing

because he worked through the meal period without pay. Plaintiff has alleged he worked through his

meal break but was unpaid. Plaintiffs’ allegations are short and plain, as required by Rule 8. They

nonetheless set forth a legal claim for violations of the asserted wage laws.

       To conclude their arguments, Defendants establish the extremely punctilious and persnickety

nature of their defenses to this litigation: They assert that, because Plaintiff Frisby has failed to allege

that two or more of the hours he worked each week were “within the geographic boundaries of the

City of Chicago”, id., p. 15, his claims under the Chicago Minimum Wage Ordinance must be

dismissed. We submit such a matter is an “avoidance”, e.g., an affirmative defense under Rule 8(c)(1),

rather than an element of his cause of action, and Defendants can attempt to demonstrate as a fact

later on that the number of hours Plaintiff and his co-workers worked within the geographic

boundaries of the City of Chicago was less than two per week. Plaintiffs need not provide detailed

factual allegations in their Complaint, but must provide enough factual support to raise their right to

relief above a speculative level. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L.

Ed. 2d 929 (2007). A claim must be facially plausible, meaning that the pleadings must "allow...the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged."

Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). The claim must be
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described "in sufficient detail to give the defendant 'fair notice of what the...claim is and the grounds

upon which it rests.'" E.E.O.C. v. Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007)

(quoting Twombly, 550 U.S. at 555). Plaintiff ’s Complaint does that.

       But, fortunately, Defendants have also established that fact themselves in attaching to their

motion a collective bargaining agreement they say governs this matter, reflecting that “Sky Chefs

Units Covered by the Master National Agreement” include “Chicago, Illinois”, id. p. 38. Plaintiff

must, therefore, have been working in Chicago, Illinois, according to Defendants. Of course, the

Court may also take judicial notice of the fact that Chicago’s O’Hare Airport is located within the

geographic boundaries of the City of Chicago when reviewing paragraph 100 of the Complaint,

which alleges:

       “Plaintiff and the putative class members are hourly-paid, non-exempt, full-time employees

whom Defendants employed at O’Hare International Airport during the Class Period and whose daily

log- in and log-out time was rounded and/or unpaid as described above.” (Emphasis supplied.)

Conclusion

       Defendants could not rightfully oppose a motion for summary judgment based on the facts of

this matter, at least as the only facts before the Court - the ones in the Complaint - are set forth. For

all of the reasons set forth above, Defendants’ motion should be denied in its entirety; and

Defendants should be ordered to Answer the Complaint at once.



       Date: May 15, 2020

                                                     Respectfully Submitted,
                                                     LARRY FRISBY,
                                                     Individually and on Behalf of
                                                     All Others Similarly Situated.

                                                     By: /s/ Jeffrey Grant Brown
                                                              Jeffrey Grant Brown
                                                              One of Plaintiffs’ attorneys
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of Plaintiffs’ Response To
Defendants Sky Chefs, Inc. and LSG Group’s Motion To Dismiss Plaintiffs’ Complaint was served
electronically through the ECF System of the Clerk of Court for the United States District Court for the
Northern District of Illinois, and served upon all persons who have appeared therein, this 15th day of
May, 2020.


                                                    /s/ Jeffrey Grant Brown
                                                    Jeffrey Grant Brown
